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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: July 28, 2023
                                                         ________________________________________
                                                                    SHAD M. ROBINSON
                                                            UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________




                                                    T
                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE WESTERN DISTRICT OF TEXAS AUSTIN DIVISION
                                    O                §
  In re:                                             §         Chapter 7
                                                     §
  ASTRALABS, INC.                                    §         Case No. 23-10164-SMR
    Debtor                                           §
                                                     §
                    O
           ORDER GRANTING OBJECTION TO CLAIM OF LACEY HUNTER (Claim
                                   No. 167)

      CAME ON TO BE CONSIDERED the Objection to Claim No. 167 of Lacey Hunter filed by
M

 Thomas Dolezal, et al. The Court finds that such objection should be GRANTED.

           1.     IT IS THEREFORE ORDERED that Claim 167 filed by Lacey Hunter is hereby

 DENIED.

           2. The Clerk shall serve notice of this Order on:
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                                         2


 Lacey Hunter
 TechAid
 645 Meadow Drive SE
 North Bend, WA 98045
                                     ###

 Order Submitted By:

 Stephen W. Sather
 Barron & Newburger, P.C.
 7320 N. MoPac Expwy., Suite 400
 Austin, TX 78731




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